       Case 1:02-cr-00153-SM     Document 369     Filed 01/25/08   Page 1 of 2




                      UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF NEW HAMPSHIR E


United States of America

                 V.                     Case No . 02-cr-153-13-15-S M

Jovice Goodlin and
Deborah Wasserman

                                    ORDER

       Defendant Goodlin's motion to continue the final pretrial conference an d

trial is granted (document 366) . Trial has been rescheduled for the March 2008

trial period. Defendant Goodlin shall file a waiver of speedy trial rights not

later than February 4, 2008 . Upon filing of such waiver, her continuance shall

be effective .

       The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial, 18

U.S .C . § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny defendants the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances .

       Final Pretrial Conference : February 29, 2008 at 10 :30 a.m.

       Jury Selection : March 4, 2008 at 9:30 a.m .
      Case 1:02-cr-00153-SM     Document 369   Filed 01/25/08   Page 2 of 2




      SO ORDERED .




                                        teven J/McAuliffe
                                       Chief Judge

January 25, 2008

cc : Paul Maggiotto, Esq .
       David Vicinanzo, Esq.
       Michael Sheehan, Esq .
       Andrew Schulman, Esq .
       Don Feith, AUS A
       US Probation
       US Marshal




                                       2
